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              IN THE UNITED STATES DISTRICT COURT FOR
                   THE SOUTHERN DISTRICT OF GEORGIA
                                   WAYCROSS DIVISION


UNITED STATES OF AMERICA,


V.                                                Case No.   CR517-03-04


JOHNNY MARTIN,


                   Defendant,




      Thomas A. Peterson, IV, counsel of record for defendant Johnny

Martin in the above-styled cases has moved for leave of absence.

The Court is mindful that personal and professional obligations

require the absence of counsel on occasion. The Court, however,

cannot accommodate its schedule to the thousands of attorneys who

practice within the Southern District of Georgia.

       Counsel may be absent at the times requested. However, nothing

shall prevent the case from going forward; all discovery shall

proceed, status conferences, pretrial conferences, and          trial shall

not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.

                                    — day of October 2017.



          U. S. D5STRICT COURT
         Southern District of Ga.
              Filed in Office            WILLIAM T. MOORE, JI
                                         UNITED STATES DISTRICT COURT
                   \0\^                  SOUTHERN DISTRICT OF GEORGIA
                        ,   tr &    T
               Deputy
